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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


 ESJ, ppa LUCKY GIRL (LISA) BEH and ELLIOTT
 SACKOR, SR., and LUCKY GIRL (LISA) BEH and
 ELLIOTT SACKOR, SR. Individually,

            Plaintiffs,
                                                                Civil No. 1:18-cv-956-SM
            v.

 UNITED STATES OF AMERICA,
 MARY CULLEN, D.O., and
 ELLIOT HOSPITAL,

            Defendants.



                        JOINT STATEMENT REGARDING THE
                   SUITABILITY OF THIS MATTER FOR MEDIATION

       The parties agree that mediation in this matter may be helpful. However, that

determination cannot be made until after the parties depose the expert witnesses. Once that

determination is made, the parties will provide notification to the Court.

                                                 Respectfully submitted,

PLAINTIFFS ESJ, LUCKY GIRL BEH,                  JOHN J. FARLEY
and ELLIOT SACKOR, SR.                           United States Attorney


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Dated: March 4, 2022                             Dated: March 4, 2022
